                     Case 2:20-cr-00577-JMA               Document 92-1           Filed 03/11/25          Page 1 of 1 PageID #: 388

TO: Clerk's Office
    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK


     APPLICATION FOR LEAVE
   TO FILE DOCUMENT UNDER SEAL

                                                                                        A) If pursuant to a prior Court Order:
******************************************                                              Docket Number of Case in Which Entered: _ _ _ _ _ _ __
                                                                                        Judge/Magistrate Judge: _ _ _ _ _ _ _ _ _ _ _ _ _ __
USA                                                                                     Date Entered:
                                                                                                       -------------------
             -v-
                                                     20-cr-577
                                                     Docket Number

******************************************

SUBMITTED BY: PlaintiffO
Name:
                          DefendantO DOJ             D                                  B) If a !!filY application, the statute, regulation, or other legal basis that
                                                                                        authorizes filing under seal
      ------------------
Finn Name: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Phone Number:                                                                           ORDERED SEALED AND PLACED IN THE CLERK'S OFFICE,
              ---------------
E-Mail Address:                                                                         AND MAY .filll.BE UNSEALED UNLESS ORDERED BY
                   ---------------                                                      THE COURT.
INDICATE UPON THE PUBLIC DOCKET SHEET:          YES□ NO [71
If yes, state description of document to be entered on docket sheet:                    DATED:     03/11/0205                      , NEW YORK
                                                                                             Isl JMA

                                                                                        U.S. DISTRICT JUDGE/U.S. MAGISTRATE JUDGE
                                                                                                       RECEIVED IN CLERK'S
                                                                                                OFFICE
                                                                                                      ------------
                                                                                                                           DATE



          TORY CERTIFICATION OF SERVICE:                                                                        □
A.)        copy of this application eithe1n en or wif-b',prornptly served upon all pa1t ies to this action, B.)   Service is excused by 31 U.S.C. 3730(b), or by
the following other statute or regulation:  ; or C.) LJThis is a criminal document submitted, and flight public safety, or security are significant concerns.
(Check one)


                             DATE                                        SIGNATURE
